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AO 399 (0£/09) Waivcr of the Service of Sum:nons

UNiTED STATES DrsTRiC'r CoURT

for the
Eastern District of Virginia

Jeannie Quinteros
P!aintijj'
v.
Burling_tog Coat Factory et al
Defendam

Civil Action No. 18-1405

WAIVER OF 'I`HE SERVICE OF SUMMONS

To; Arindel’jif Dha|i, ESq
(Name ofrhe plaimzyj"s attorney or unrepresented p!ar'ntij)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity l represent, agree to save the expense of serving a summons and complaint in this case

I understand that I, or the entity l.represent, will keep all defenses or objections to the iawsuit, the court’s
jurisdiction, and the venue of the action, but that l waive any objections to the absence of a summons or of servicel

l also understand that I, or the entity l represent, must file and serve an answer or a motion under Rule 12 within
60 days from 12117/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). if l fail to do so, a default judgment will be entered against me or the entity l represent

one 01/02/2019 §>j&tM

Sigric#ure oj:ihe aftor'ne}Wepr'eserriedparty

 

Buriington Coat Factory, |nc. and Angela Buhite Jac|yn L. Harnlin
Frr'nted name of party waiving service of summons Prinfed name

Ogietree, Deakins, Nash, Smoak & Stewart, P.C.
1909 K Street, N.W., Suite 1000
Washington, D.C. 20006
Addr'ess

jaciyn.hamlin@ogletree.com
E-maii address

(202) 263-0277

Te!eplione number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rufe 4 of the Federal Rules of CiviE Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff Eocated in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the fawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property

if the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver fonn, serve an answer or a motion under Rule 12 on the plaintiff
and tile a copy with the court. By signing and returning the waiver forin, you are allowed more time to respond than if a summons had been servcd.

 

